                          United States District Court
                        Western District of North Carolina
                               Charlotte Division

        Andre Antonio Davis,                         JUDGMENT IN CASE

             Plaintiff(s),                            3:21‐cv‐00228‐GCM

                  vs.

         Sundar Pichai, et al,

            Defendant(s).



DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s June 9, 2021 Order.




                                               June 9, 2021




       Case 3:21-cv-00228-GCM       Document 4     Filed 06/09/21    Page 1 of 1
